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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


 MARVEL CHARACTERS, INC.,                              Case No.: 1:21-cv-07955-LAK

                        Plaintiff,                     JOINT STIPULATION AND
                                                       [PROPOSED] ORDER FOR
        v.                                             DISMISSAL WITH PREJUDICE

 LAWRENCE D. LIEBER,                                   Hon. Lewis A. Kaplan

                        Defendant.

 LAWRENCE D. LIEBER,

                        Counterclaimant,

        v.

 MARVEL CHARACTERS, INC., and DOES
 1-10, inclusive,

                     Counterclaim-Defendants.



       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff and Counterclaim-

Defendant Marvel Characters, Inc., on the one hand, and Defendant and Counterclaimant

Lawrence D. Lieber, on the other, by and through their undersigned counsel, hereby stipulate that

this action and all claims, including all counterclaims, and defenses asserted therein, be
dismissed with prejudice, with each party bearing its own attorneys’ fees, costs, and expenses.
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   Dated:         May 18 , 2023         O’MELVENY & MYERS LLP

                                        By:
                                                    Daniel M. Petrocelli

                                        Daniel M. Petrocelli*
                                        dpetrocelli@omm.com
                                        Molly M. Lens
                                        mlens@omm.com
                                        Matthew Kaiser*
                                        mkaiser@omm.com
                                        1999 Avenue of the Stars, 8th Floor
                                        Los Angeles, California 90067
                                        Telephone: (310) 553-6700
                                        Facsimile: (310) 246-6779

                                        Allen Burton
                                        aburton@omm.com
                                        Danielle Feuer
                                        dfeuer@omm.com
                                        Times Square Tower
                                        7 Times Square
                                        New York, NY 10036
                                        Telephone: (212) 326-2000
                                        Facsimile: (212) 326-2061

                                        * Admitted pro hac vice

                                        Attorneys for Marvel Characters, Inc.

   Dated:          May 19, 2023         TOBEROFF & ASSOCIATES, P.C.

                                        By:
                                                        Marc Toberoff

                                        Marc Toberoff
                                        mtoberoff@toberoffandassociates.com
                                        23823 Malibu Road, Suite 50-363
                                        Malibu, CA 90265
                                        Telephone: (310) 246-3333
                                        Facsimile: (310) 246-3101

                                        Attorneys for Lawrence D. Lieber

SO ORDERED:

DATED:                    , 2023        BY: ________________________________
                                                  Hon. Lewis A. Kaplan
                                                United States District Judge


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